  Case 1:23-mj-00274-MN Document 6 Filed 07/25/23 Page 1 of 1 PageID #: 456




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )
        v.                                        )
                                                  ) Criminal Action No. 23-CR-274-MN
ROBERT HUNTER BIDEN,                              )
                                                  )
               Defendants.                        )

                                 ENTRY OF APPEARANCE

       Please take notice that Richard I.G. Jones, Jr. of the firm Berger Harris LLP hereby enters

his appearance as counsel for Defendant Robert Hunter Biden in this action.

Dated: July 25, 2023                        BERGER HARRIS LLP


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